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  1   PETER C. ANDERSON
      UNITED STATES TRUSTEE
  2   JILL M. STURTEVANT, State Bar No. 089395
      ASSISTANT UNITED STATES TRUSTEE
  3   HATTY YIP, State Bar No. 246487
      TRIAL ATTORNEY
  4   OFFICE OF THE UNITED STATES TRUSTEE
      915 Wilshire Blvd, Suite 1850
  5   Los Angeles, California 90017
      (213) 894-1507 telephone
  6   (213) 894-2603 facsimile
      Email: hatty.yip@usdoj.gov
  7

  8
                                   UNITED STATES BANKRUPTCY COURT
  9
                                   CENTRAL DISTRICT OF CALIFORNIA
 10
                                         LOS ANGELES DIVISION
 11
      In re:                                         )   Case No.: 2:21-bk-16674-ER
 12                                                  )
                                                     )   Chapter 11
 13   JINZHENG GROUP (USA) LLC,                      )
                                                     )   AMENDED NOTICE OF APPOINTMENT
 14                   Debtor(s).                     )   AND APPOINTMENT OF COMMITTEE
                                                     )   OF CREDITORS HOLDING
 15                                                  )   UNSECURED CLAIMS
                                                     )
 16                                                  )
 17            Pursuant to 11 U.S.C. Section 1102(a), the undersigned hereby amends the appointment of
 18   the members on the Committee of Creditors holding unsecured claims to the following 2 creditors:
 19                                     SEE ATTACHED EXHIBIT A
 20
      DATED: March 31, 2022                                Respectfully submitted,
 21                                                        PETER C. ANDERSON
                                                           UNITED STATES TRUSTEE
 22
                                                                                     Digitally signed by JILL
                                                            JILL STURTEVANT STURTEVANT
 23                                                        _______________________________
                                                                            Date: 2022.03.31 12:50:50 -07'00'


                                                           By:   JILL M. STURTEVANT
 24
                                                                 Assistant United States Trustee
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 28                                                  -1-
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  1                                          EXHIBIT A

  2   In re: Jinzheng Group (USA) LLC, Case No. 2:21-bk-16674-ER
  3   Betula Lenta, Inc.
      David Park
  4   800 West 6th Street, Suite 1250
      Los Angeles, CA 90017
  5   (213) 537-0158
      david@thecodesolution.com
  6
      The Phalanx Group, Inc.
  7   Anthony Rodriguez
      424 E. 1st Street, Unit #10
  8   Los Angeles, CA 90015
      (213) 494-8542
  9   anthony@phalanx.group
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